        Case 1:21-cr-00028-APM Document 730 Filed 08/16/22 Page 1 of 3




                           UNITED STATES DISTRICT COURT
                              DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

                     Plaintiff,

              v.                                         Case No. 21-cr-28

JAMES D. BEEKS,

                     Defendant.


                                    STATUS REPORT

       James Beeks, by counsel, files this Status Report to provide the Court with an

update concerning his efforts to obtain employment and permanent housing. Mr. Beeks

continues to stay in a hotel while working part-time and aggressively seek full-time

employment in the Orlando area. The hope continues to be that Mr. Beeks can obtain

employment and housing in Orlando and remain there on a permanent basis. To that

end, Mr. Beeks will remain in the Orlando area for the next month continuing that search.

If, prior to September 16, 2022, Mr. Beeks has secured employment and housing, then

counsel for Mr. Beeks will file a motion to modify Mr. Beeks’s conditions of release,

requesting that Mr. Beeks be permitted to reside in Florida. If, prior to September 16, 2022,

Mr. Beeks has not secured employment and housing in Florida, he will update the Court

as to whether he will return to his family members’ home in the Western District of North

Carolina or remain in Florida to continue his search for employment and housing. Under

either scenario, all other conditions of release will remain in place.


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        Case 1:21-cr-00028-APM Document 730 Filed 08/16/22 Page 2 of 3




      The defense has provided this information to the government in attempt to include

the government’s position on Mr. Beeks’s status report, but has not received a response.

The defense has also shared this report with Pretrial Services.

      Dated at Milwaukee, Wisconsin, this 16th day of August, 2022.

                                             Respectfully submitted,

                                                /s/ Joshua D. Uller
                                                Joshua D. Uller, WI Bar #1055173
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                                                Counsel for James Beeks




                                            2
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        Case 1:21-cr-00028-APM Document 730 Filed 08/16/22 Page 3 of 3




                            CERTIFICATE OF SERVICE

       On this 16th day of August, 2022, I filed the foregoing document electronically

with the Clerk of the Court for the United States District Court for the District of

Columbia by using the Court’s CM/ECF system, which will provide electronic service

on all counsel of record.


                                       /s/ Joshua D. Uller
                                       Joshua D. Uller




                                                               FEDERAL DEFENDER SERVICES
                                                                       OF WISCONSIN, INC.
